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Dare 2 Care (D2C): Compassion Fatigue
               Updates
                       Thursday, April 4th, 2019
                          4:15PM – 4:45PM
                       Hyatt Regency Bellevue
 NWABR Annual Institutional Animal Care and Use Committee Conference


                                  J. Preston Van Hooser
                                  Review Scientist & Compliance Manager
                                  Office of Animal Welfare, University of Washington
                                  Chair, Dare 2 Care (D2C) Compassion in Science Committee
                                  Member, UW IACUC
                                  NWABR Board Member




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                          Session Objectives


•   Recognizing Compassion Fatigue
•   Overview of UW’s D2C
•   Updates
•   Lessons Learned




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                       What is Compassion Fatigue?
In an animal care setting, Compassion Fatigue is a combination of physical, emotional
and psychological depletion associated with working and caring for animals and their
well‐being in a captive environment.




It’s the negative aspect of our work. It may be related to providing care, working with colleagues, beliefs
about self, system failure, burnout and/or any work‐related trauma.




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                                  The Cost of Caring
We cannot expect high levels of animal CARE without employees then CARING about the
animals.




           We don’t get compassion fatigue because we are weak, can’t handle the work, aren’t
           “cut out” for it. We get compassion fatigue because we care, deeply. And we ignore our
           own needs.




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                          We all Experience it

Not only individuals working directly with the animals experience compassion
fatigue, IACUC members, administrative support staff, vendors and facilities
services personnel may also indirectly experience compassion fatigue.




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                      Signs & Symptoms
Individual                                         Organization
• Depression                                       • Substandard level of care
• Anxiety                                          • Absenteeism
• Apathy                                           • High turnover
• Irritability                                     • Lack of teamwork
• Sleep disturbance                                • Team conflict
• Poor self‐care                                   • Low morale
• An increase in mistakes                          • Blaming and complaining
• Diminished career enjoyment                      • Increased cynicism
• Substance abuse                                  • Poor quality control
• Problems in relationships                        • Deterioration of the mission

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                           Causes of Compassion Fatigue
Animal Husbandry & Vet Staff            Research Faculty & Staff                     IACUC & Admin Staff
Isolation                               Long hours                                   Pr0gram size and complexity
Observed morbidity and mortality        Regularly witness or induce disease          Protocol and grant congruency
                                        in animals                                      reviews
Desensitization                         Self‐blame                                   Animal Numbers
Sadness over the loss of a particular   Desensitization                              System Failure(s)
animal
Animals will ultimately be euthanized Unexpected outcomes                            Ethical decisions

                                        Animals will ultimately be euthanized Post‐Approval Monitoring
                                        Targeted by animal rights                    Targeted by animal rights activists ‐
                                        activists/Negative Press                     UW Kills/Negative Press


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                      It Affects the Entire System
•   Research Staff                                     Research Animals
•   Lab staff, student helpers, and volunteers         • Numerous interactions throughout it’s life in
•   Veterinary Staff                                      a laboratory
•   Husbandry Staff                                    • 100’s of people involved in direct interaction
•   IACUC, AUTS, OH&S, EH&S, Animal Purchasing            and/or oversight of the animals
•   Building Management
•   Facility Services
•   Vendors
•   Professional Transportation Services
•   Government/Company




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    Employee Training
•   Bites, scratches, kicks, physical trauma
•   Ergonomics, noise
•   Zoonoses, allergens, blood‐borne pathogens
•   Caustic, infectious, radioactive, toxic agents
•   Sharps, hot surfaces, physical hazards
•   Public safety, facility and computer security
•   Disaster plans, fire, flood, bomb threat
•   Harassment, discrimination, whistleblower
• Emotional involvement?
                                                                                                       9




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                             How did we (UW) get here?
• Identify the Need
• Assess the Potential Demand
• Anneke Keizer, Founder, COPE+
    Small company specializing in counseling services for people
     working with laboratory animals

• Needs Assessment (July 2016 & June 2017)
    Interviews, one‐on‐one interactions, focus groups




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              D2C Program Mission Statement
Assist all members of the research team to recognize compassion fatigue
and raise awareness, provide tools, strategies and resources for managing
human emotions in working with and caring for laboratory animals.




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             D2C Initial Program Goals / Objectives
• Study Endpoint Notification

• Support for Staff

• Self‐care Strategies

• Time for Reflection

• Work Environments

• The “Box” Project

• Annual Commemoration

• Dedication Area


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      Updates: Study Endpoint Notification
WaNPRC CF Subcommittee formed 2017


Heart Stickers / Cage Tags
   • Decided not to pursue at WaNPRC
   • (Heart stickers WIP at DCM)

E‐mail Notification (NHP)
   • Endpoint Distribution List
   • E‐mail Templates

Acknowledge high levels of humane care
Acknowledge the greater purpose the animal served

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Hi everyone,

All animals in room ____will reaching their endpoint soon.

Our animals are all part of a large study titled _______. We often refer to it as our ____ study.

This study’s goal is to _____. As part of the study design, critical endpoint samples must be collected. The scientific
knowledge gained in terminal tissue collections and analysis will further the understanding of targeting and
eradicating viral reservoirs. In order to thoroughly investigate we will need to humanely euthanize the animals for
terminal collections. The pathologist and research staff will carry out this important procedure.

We have worked with these 24 animals for a long time and they are certainly the most vocal, rowdiest group of
monkeys we have encountered. Despite that, they have been a pleasure to work with. We have grown to love each of
their individual personalities and will miss and remember them all. Endpoints will start ____ and end ___. If you would
like specific endpoints for any animals please let me know.

Most everyone has had an important role in this large study. We want to thank all the people that have made this very
important study successful. In particular we would like to thank the animal care staff for providing wonderful care for
the animals. This is a very vocal group that loves food and treats and you can clearly tell from the animals’ response
that they prefer the husbandry technicians to anyone else. These animals were housed at Western and ARCF
throughout their study and received excellent care. BMS did a great job ensuring the animal’s behavioral needs are
maintained. (They) setup the pairs which have remained stable throughout the study despite a few room changes.
The clinical staff provided therapeutic support during the study and are continuing to do so in the most critical part of
the study. Research support and surgery staff have also played a large role in this study. They’ve helped up performed
___ surgeries/tissue collections during the course of the study. All 24 animals have progressed through this intensive
study and have had no major health issues. We thank the vet staff for keeping close watchful eye on them.

I would also like to make a special thanks to the Kiem lab research staff (particularly Erica and Kelvin) in conducting
ethical and compassionate research for our non‐human primate patients. This has been a long, difficult study and
these animals are all still healthy and happy thanks to the dedication of the research staff making sure their needs are
met.
If you would like please take some time to stop by the animal’s cage prior to the dates listed above.

Best regards, ______ Lab


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Pre‐Endpoint (Research) Example:

Dear colleagues,
For quite some time we have been working on the _______ study titled_______________
This study investigates the interaction of ________ treatment to enhance vaccine responses against
________ infection. As part of the study design, critical endpoint samples must be collected. The
scientific knowledge gained in terminal tissue collection and analysis will further the understanding
on how the _______ plays important role in ________ infection. In order to thoroughly investigate
this, we will need to humanely euthanize the animals for terminal collections. The pathologist and
support staff will carry out this important procedure.

On behalf of the principal investigator, I would like to inform you that we have reached important
study endpoints for the following animals:
###### (Animal #/ Date)

We want to thank all the people that have made this very important research study successful. In
particular, we would like to thank the animal care staff for providing humane care for the animals,
BMS for ensuring the animal’s social and behavioral needs are met, clinical staff in providing
therapeutic support during the study, research staff in conducting ethical and compassionate
research for our non‐human primate patients and pathology staff for ensuring the endpoint is
humane.

If you would like, please take some time to visit the animal prior to the date listed above.
Best regards

________ Team


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Post‐Endpoint (Clinical) Example:

Hello all,
###### was humanely euthanized yesterday afternoon due to her clinical condition, ______________.
On behalf of the veterinary staff, I would like to thank the animal care staff, veterinary technicians, research
support and BMS for your care and attention to this animal during her time at the center.

Thank you,

_____, Veterinarian




Information to Include at the bottom if desired:

You can find out more information about the D2C Compassion in Science program here: _____ including a
dedicated phone line, as well as a list of personnel you can reach out to if you want to talk about the loss of a
particular animal.




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             Updates: Support for Staff
• Educate staff about our D2C Program

• D2C volunteers reach out to staff in times of need‐ “someone to talk to”

• Dedicated D2C phone and email

• Inform staff of other support options ‐ we are not therapists

• Events for special circumstances




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               Updates: Training




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Updates: Occupational Health (OH) Screening

  • Annual Health Assessment for husbandry staff / animal users
    administered by UW Employee Health

  • One of the first institutions to implement CF assessment as
    part of OH screening for Laboratory Animal Professionals




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                University of Washington CAMPUS HEALTH SERVICES
                                UW Employee Health

          ANIMAL CONTACT HEALTH QUESTIONNAIRE
                                                                                               VI. ADDITIONAL HEALTH CONCERNS
Confidential                                                     Initial        Periodic
                                                                                               Yes     I have health or workplace concerns not
         Name (Last, First, MI):
Job Title:       Box Number:
                                 Employee ID Number:
                                 Work Phone:
                                                      Male Female                              covered by the questionnaire (e.g. Compassion
Department:      Supervisor/PI:                                                                Fatigue) that I feel may affect my occupational
Work location: How many years have you worked in this position:
Email (required):Birthdate:      Today’s Date:                                                 health and would like to discuss with the Employee
STATEMENT OF DECLINATION
                                                                                               Health provider.
IF YOU CHOOSE TO DECLINE THE MEDICAL SCREENING, SIGN BELOW AND DO
NOT COMPLETE THE REST OF THE FORM.                                                             Yes       I have reproductive concerns that I would
I,                   (Type or print name), decline to participate in the Occupational Health   like to discuss with the Employee Health
program for animal contact workers. I realize that declining could lead to unforeseen
medical concerns. I also understand that I can change my mind about participating by           Provider
contacting the Employee Health Center.
SIGNATURE: DATE:
        Send To: Employee Health Center, Box 354410, Office                                    Yes     I have answered the questions truthfully and
        206-685-1026 Fax 206-221-5110                                                          to the best of my recollection.
I. LABORATORY ANIMAL USE Check all boxes that apply to your work situation.

        I am working with live animals.
        I do husbandry (care of animals) and/or veterinary services.                           VII. SIGNATURE: ______________ DATE: ____
        I do not work with animals, but work in an animal area.



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                     Updates: Reflections
• Provide an opportunity for individuals to come together in one place to
  pay tribute to our research animals and each other.

                Martin K. (Casey) Childers,                             Paul Frase
                DO, PhD                                                 NFL Veteran
                Professor                                               Co‐Founder, Joshua Frase
                Rehabilitation Medicine                                 Foundation
                University of Washington




• Guest speakers share their research and acknowledge the contributions
  provided by Laboratory Animal Professionals
• Open to all animal caregivers, research faculty and staff

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                                     Updates: Work Environment / Break Areas
                                       Improving break rooms was frequently
                                       requested during our Needs Assessments

                                       “Before” and “After” video of animal caregiver
                                       breakroom with completed renovations @
                                       https://sites.uw.edu/d2c under Special Projects
                                       page




Updates: “The Box Project”
An innovative way to encourage staff to
express themselves anonymously


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               Updates: Dedication Area (In Progress)
• Physical tribute
• Peaceful retreat where staff can go to reflect




                           Annual Commemoration (In Progress)
                      • The entire UW community can gather
                      • Acknowledge contributions to biomedical research and animal welfare


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       Updates: UW D2C Website




                                                             https://sites.uw.edu/d2c




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       Updates: UW D2C Website

     3217 visitors | 197 cities | 25 countries




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                                          Updates: Presentations & Publications
2019                                                               Fatigue: A two‐part session that covers what IACUC’s should be
Fred Hutchinson Cancer Research Center 2019 – Seattle, WA Dare     aware of in terms of compassion fatigue – what is it and how does it
2 Care (D2C): Developing a Sustainable Compassion Fatigue          impact an animal care and use program
Program                                                            2018 NWABR IACUC Conference – Lynnwood, WA_Strategies for
                                                                   Developing an Institutional Program to Manage Compassion Fatigue
2018
                                                                   AALAS 2018 Webinar – Global_Strategies for Developing an
2018 Association of Zoos and Aquariums Annual Conference –
                                                                   Institutional Program to Manage Compassion Fatigue
Seattle, WA Dare 2 Care: Developing a Program to Manage
Compassion Fatigue Among Animal Caregivers Across Industries       2017
AALAS 2018 NM – Baltimore, MD_You Created a Compassion             2017 Crossing the I’s Conference – Spokane, WA_Dare 2 Care (D2C):
Fatigue Program – What’s Next?                                     Developing a Sustainable Compassion Fatigue Program That Meets
International One Health Congress (IOHC) 2018 Conference –         Your Institutional Needs
Saskatoon, Canada_ Compassion Fatigue and One Health:              2017 Crossing the I’s Conference – Portland, OR_Dare 2 Care (D2C):
supporting our relationship with the animals we care for thru an   Developing a Sustainable Compassion Fatigue Program That Meets
integrated One Health approach                                     Your Institutional Needs
World Veterinary Association Congress (WVAC) 2018 Conference –     AALAS 2017 NM – Austin, TX_ Dare to Care: Developing and
Barcelona, Spain_ Running on Empty: increasing awareness of        implementing a sustainable compassion fatigue program that meets
Animal Welfare and Compassion Fatigue through the One Health       your institutional needs
approach                                                           AALAS 2017 D8 – Salt Lake City, UT_ Dare to Care: Developing and
2018 IPS Conference_Compassion Fatigue: What is it and how         implementing a sustainable compassion fatigue program that meets
does it influence our relationship with Nonhuman Primates in       your institutional needs (repurposed PRIM&R 2017)
Captivity                                                          PRIM&R 2017 IACUC Conference – New Orleans, LA_ Dare to Care:
PRIM&R 2018 IACUC Conference – Columbus, OH_Compassion             Developing and Implementing a Sustainable Compassion Fatigue
                                                                   Program that Meets Your Institutional Needs (Hot Topics and
                                                                   Emerging Trends Track)                                     26




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                               Lessons Learned
• Recognize that this is a change in culture

• Set clear expectations
   • Committee membership / Charter?
   • Guidelines for volunteers that reach out
       to staff in need

• Identify possible funding sources early on

• Committee should remain independent and available to all staff

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                       Lessons Learned
Recognize the Lab Animal Professional Work Resiliency Lifecycle




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                 Lessons Learned
 Recognize the typical Committee/Board Lifecycle




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                                   Lessons Learned
• Understand the Management perspective:
      • Research must continue
      • Care standards for animals must be maintained




              Photo Credit: Oregon National Primate Research Center/OHSU; ComeSeeOurWorld.org

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                      Acknowledgments
University of Washington D2C Compassion in Science Committee

University of Washington and WaNPRC Leadership

Dr. Sally Thompson‐Iritani

VA Puget Sound Health Care System

Dr. Kim Stocking

Northwest Association for Biomedical Research (NWABR) Planning Committee

Ken Gordon, Executive Director, NWABR

The Jackson Laboratory

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  Thank you for what you do…..
   you truly make a difference!

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It is better to have a Compassion Fatigue Program and not
need it –

.......than to need a Compassion Fatigue Program and not
have it.
                                                 ~ Anthony Gray, 2017




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